            Case 5:21-cv-00844-XR Document 739 Filed 09/01/23 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,           §
                                              §
                      Plaintiffs,             §
                                              §
       v.                                     §         Civil Action No: 5:21-cv-00844-XR
                                              §
GREGORY W. ABBOTT, et al.,                    §
                                              §
                      Defendants.
                                              §
                                              §
                                              §
                                              §

      DEFENDANT LISA WISE’S NOTICE REGARDING MOTIONS IN LIMINE

       Defendant El Paso County Elections Administrator, Lisa Wise, pursuant to the Order

entered on August 23, 2023, hereby submits that she will not file a motion in limine. Nothing in

this notice is to be construed as an admission of any allegation against her in this action, and

Defendant Wise reserves all applicable defenses.



Dated: September 1, 2023
                                                   /s/ Kathleen Hartnett__________
                                                   Kathleen Hartnett* (CA SBN 314267)

                                                   COOLEY LLP
                                                   Kathleen Hartnett* (CA SBN 314267)
                                                   khartnett@cooley.com
                                                   Beatriz Mejia* (CA SBN 190948)
                                                   bmejia@cooley.com
                                                   Sharon Song* (CA SBN 313535)
                                                   ssong@cooley.com
                                                   Kelsey Spector* (CA SBN 321488)
                                                   kspector@cooley.com
                                                   Germaine Habell* (CA SBN 333090)
                                                   ghabell@cooley.com
                                                   Caroline A. Lebel* (CA SBN 340067)
                                                   clebel@cooley.com
Case 5:21-cv-00844-XR Document 739 Filed 09/01/23 Page 2 of 4




                              3 Embarcadero Center, 20th Floor
                              San Francisco, CA 94111-4004
                              Telephone: +1 415 693-2000
                              Facsimile: +1 415 693-2222

                              COOLEY LLP
                              Orion Armon (CO SBN 34923)
                              oarmon@cooley.com
                              1144 15th Street, Suite 2300
                              Denver, CO 80202-2686
                              Telephone: +1 720 566-4000
                              Facsimile: +1 720 566-4099

                              STATES UNITED DEMOCRACY CENTER
                              Christine P. Sun* (CA SBN 218701)
                              3749 Buchanan St., No. 475165
                              San Francisco, CA 94147-3103
                              Telephone: +1 615 574-9108
                              christine@statesuniteddemocracy.org

                              STATES UNITED DEMOCRACY CENTER
                              Ranjana Natarajan (TX SBN 24071013)
                              1801 E 51st St., Suite 365, No. 334
                              Austin, TX 78723
                              Telephone: +1 323 422-8578
                              ranjana@statesuniteddemocracy.org

                              STATES UNITED DEMOCRACY CENTER
                              Robert Cotter* (IL SBN 6334375)
                              7510 N. Greenview Ave., Apt. #3
                              Chicago, IL 60626
                              Telephone: (224) 235-2606
                              robert@statesuniteddemocracy.org

                              STATES UNITED DEMOCRACY CENTER
                              Marina Eisner* (DC SBN 1005593)
                              1101 17 Street NW
                              Washington, DC 20036
                              Telephone: (240) 600-1316
                              marina@statesuniteddemocracy.org

                              EL PASO COUNTY ATTORNEYS
                              Jo Anne Bernal (TX SBN 02208720)
                              El Paso County Attorney
                              Joanne.Bernal@epcounty.com
                              John E. Untereker (TX SBN 24080627)
                              Assistant County Attorney

                              2
Case 5:21-cv-00844-XR Document 739 Filed 09/01/23 Page 3 of 4




                              juntereker@epcounty.com
                              500 East San Antonio, Room 503
                              El Paso, Texas 79901
                              Telephone: +1 915 546-2050
                              Facsimile: +1 915 546-2133

                              Attorneys for Defendant Lisa Wise, in her
                              official capacity as the El Paso County
                              Elections Administrator




                              3
         Case 5:21-cv-00844-XR Document 739 Filed 09/01/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I certify that on September 1, 2023, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of this filing to counsel of record.

                                            /s/ Kathleen Hartnett
                                            Kathleen Hartnett




                                                4
